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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 MARK MEADOWS,

                        Plaintiff,                          Case No. 1:21-cv-3217-CJN

        v.



 NANCY PELOSI, et al.,

                        Defendants.



                        ANSWER TO FIRST AMENDED COMPLAINT

       Defendants Nancy Pelosi, Bennie G. Thompson, Elizabeth L. Cheney, Adam B. Schiff,

Jamie B. Raskin, Susan E. Lofgren, Elaine G. Luria, Peter R. Aguilar, Stephanie Murphy, Adam

D. Kinzinger, and the Select Committee to Investigate the January 6th Attack on the United

States Capitol (“Select Committee”) hereby answer Plaintiff Mark Meadows’s Amended

Complaint as follows:

       1.      Defendants admit that Mr. Meadows is a private citizen who previously served as

a Member of Congress and subsequently as Chief of Staff to the President of the United States.

Defendants admit that Mr. Meadows brought a complaint for declaratory and injunctive relief but

deny that Mr. Meadows is entitled to such relief. Defendants deny the remaining allegations in

Paragraph 1.

       2.      Defendants admit that the Select Committee seeks to compel Mr. Meadows and a

third-party telecommunications company to provide certain information to the Select Committee.

Defendants deny the remaining allegations in Paragraph 2.
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       3.      Defendants admit that the Select Committee and Mr. Meadows engaged over a

period of time in an effort to achieve a reasonable accommodation. Defendants deny the

remaining allegations in Paragraph 3.

       4.      Defendants admit that Mr. Meadows produced certain documents to the Select

Committee. Defendants deny the remaining allegations in Paragraph 4.

       5.      Paragraph 5 characterizes statements made on behalf of the President of the

United States and by a Justice of the United States Supreme Court. Those statements speak for

themselves, and Defendants refer to them for their full and complete contents and deny and

remaining allegations of Paragraph 5.

       6.      Defendants admit that Mr. Meadows is a witness to events that are the subject of

the Select Committee’s investigation. Defendants admit that Mr. Meadows has filed this action

to challenge the subpoena issued to him. Defendants deny the remaining allegations in

Paragraph 5.

                                           PARTIES

       7.      Admitted.

       8.      Defendants admit that Nancy Pelosi is a Democratic Member of the U.S. House

of Representatives and Speaker of the House.

       9.      Defendants admit that Bennie G. Thompson is a Democratic Member of the U.S.

House of Representatives and Chairman of the Select Committee to Investigate the January 6th

Attack on the United States Capitol. Defendants admit that the subpoenas that Mr. Meadows is

challenging were issued pursuant to Chairman Thompson’s authority as Chair.




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       10.     Defendants admit that Elizabeth L. Cheney is a Republican Member of the U.S.

House of Representatives and a member of the Select Committee to Investigate the January 6th

Attack on the United States Capitol.

       11.     Defendants admit that Adam B. Schiff is a Democratic Member of the U.S. House

of Representatives and a member of the Select Committee to Investigate the January 6th Attack

on the United States Capitol.

       12.     Defendants admit that Jamie B. Raskin is a Democratic Member of the U.S.

House of Representatives and a member of the Select Committee to Investigate the January 6th

Attack on the United States Capitol.

       13.     Defendants admit that Susan E. Lofgren is a Democratic Member of the U.S.

House of Representatives and a member of the Select Committee to Investigate the January 6th

Attack on the United States Capitol.

       14.     Defendants admit that Elaine G. Luria is a Democratic Member of the U.S. House

of Representatives and a member of the Select Committee to Investigate the January 6th Attack

on the United States Capitol.

       15.     Defendants admit that Peter R. Aguilar is a Democratic Member of the U.S.

House of Representatives and a member of the Select Committee to Investigate the January 6th

Attack on the United States Capitol.

       16.     Defendants admit that Stephanie Murphy is a Democratic Member of the U.S.

House of Representatives and a member of the Select Committee to Investigate the January 6th

Attack on the United States Capitol.




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       17.     Defendants admit that Adam D. Kinzinger is a Republican Member of the U.S.

House of Representatives and a member of the Select Committee to Investigate the January 6th

Attack on the United States Capitol.

       18.     Admitted.

                                 JURISDICTION AND VENUE

       19.     Paragraph 19 constitutes conclusions of law, rather than averments of fact, to

which no response is required.

       20.     Paragraph 20 constitutes conclusions of law, rather than averments of fact, to

which no response is required.

       21.     Paragraph 21 constitutes conclusions of law, rather than averments of fact, to

which no response is required.

       22.     Paragraph 22 constitutes conclusions of law, rather than averments of fact, to

which no response is required.

       23.     Paragraph 23 constitutes conclusions of law, rather than averments of fact, to

which no response is required.

       24.     Admitted.

                                       RELEVANT FACTS

       25.     Admitted that Mr. Meadows served as Chief of Staff to former President Donald

J. Trump beginning in March 2020. To the extent Paragraph 25 suggests that Mr. Meadows was

not in that position until after the 2020 election, Defendants deny the allegations in Paragraph 25.

       26.     Admitted that a group of violent rioters breached security, assaulted police, and

impeded, obstructed, and otherwise disrupted Congress’s official proceeding for counting of

Electoral College votes on January 6, 2021, and that order was not restored for several hours


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thereafter. Admitted that the U.S. Department of Justice has charged hundreds of individuals to

date in connection with the activities of January 6. Defendants deny the remaining allegations in

Paragraph 26 and further state that the statements in Paragraph 26 lack critical context.

       27.     Admitted; Defendants deny that this fact has any relevance to this action.

       28.     Admitted; Defendants deny that this fact has any relevance to this action.

       29.     Admitted; Defendants deny that this fact has any relevance to this action.

       30.     Admitted.

       31.     Admitted.

       32.     Defendants admit that Speaker Pelosi introduced H. Res. 503 on June 28, 2021

and that the Resolution passed by a vote of 222 yeas and 190 nays. Defendants admit that Rep.

Adam Kinzinger and Rep. Liz Cheney voted in favor of H. Res. 503. Defendants deny the

remaining allegations in Paragraph 32.

       33.     Paragraph 33 purports to selectively quote H. Res. 503. Defendants state that H.

Res. 503 speaks for itself, refer to it for its full and complete contents, and deny any remaining

allegations in Paragraph 33.

       34.     Paragraph 34 purports to selectively quote H. Res. 503. Defendants state that H.

Res. 503 speaks for itself, refer to it for its full and complete contents, and deny any remaining

allegations in Paragraph 34.

       35.     Paragraph 35 purports to selectively quote H. Res. 503. Defendants state that H.

Res. 503 speaks for itself, refer to it for its full and complete contents, and deny any remaining

allegations in Paragraph 35.




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       36.     Paragraph 36 purports to selectively quote H. Res. 503. Defendants state that H.

Res. 503 speaks for itself, refer to it for its full and complete contents, and deny any remaining

allegations in Paragraph 36.

       37.     Defendants admit that Timothy Heaphy is Chief Investigative Counsel for the

Select Committee and is a former United States Attorney. Defendants admit that John Wood is a

Senior Investigative Counsel for the Select Committee and is a former United States Attorney.

Paragraph 37 purports to characterize a news article, state that the article speaks for itself, refer

to it for its full and complete contents, and deny any remaining allegations in Paragraph 37.

Defendants further deny that the allegations in Paragraph 37 have any relevance to this action.

       38.     Paragraph 38 references a selective summary of activity of the Select Committee.

Defendants state that the report speaks for itself, refer to it for its full and complete contents, and

deny any remaining allegations in paragraph 38.

       39.     Defendants admit that Speaker Pelosi and members of the Select Committee have

made public statements about the Select Committee’s work and purposes. Defendants deny the

remaining allegations in Paragraph 39.

       40.     Paragraph 40 purports to selectively quote an interview. Defendants state that the

interview speaks for itself, refer to it for its full and complete contents, and deny any remaining

allegations in Paragraph 40.

       41.     Paragraph 41 purports to selectively quote an interview and tweet. Defendants

state that the interview and tweet speak for themselves, refer to them for their full and complete

contents, and deny any remaining allegations in Paragraph 41.




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        42.     Paragraph 42 purports to selectively quote a news article and tweets. Defendants

state that the article and tweets speak for themselves, refer to them for their full and complete

contents, and deny any remaining allegations in Paragraph 43.

        43.     Paragraph 43 purports to selectively quote a news article and tweet. Defendants

state that the article and tweet speak for themselves, refer to them for their full and complete

contents, and deny any remaining allegations in Paragraph 43. Defendants further deny that Rep.

Raskin implied a law enforcement purpose of the investigation.

        44.     Paragraph 44 purports to selectively quote an interview transcript. Defendants

state that the interview speaks for itself, refer to it for its full and complete contents, and deny

any remaining allegations in Paragraph 44.

        45.     Paragraph 45 purports to selectively quote a transcript of a press conference.

Defendants state that the transcript speaks for itself, refer to it for its full and complete contents,

and deny any remaining allegations in Paragraph 45.

        46.     Paragraph 46 purports to selectively quote a hearing statement. Defendants state

that the hearing statement speaks for itself, refer to it for its full and complete contents, and deny

any remaining allegations in Paragraph 46.

        47.     Paragraph 47 purports to selectively quote an interview. Defendants state that the

interview speaks for itself, refer to it for its full and complete contents, and deny any remaining

allegations in Paragraph 47.

        48.     Paragraph 48 purports to selectively quote an article. Defendants state that the

article speaks for itself, refer to it for its full and complete contents, and deny the remaining

allegations in Paragraph 48.

        49.     Defendants deny the allegations in Paragraph 49.

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       50.      Paragraph 50 purports to selectively quote from a complaint filed in Thompson v.

Trump, No. 1:21-cv-400 (D.D.C. Feb 16, 2021). Defendants state that the complaint speaks for

itself, refer to it for its full and complete contents, and deny the remaining allegations in

Paragraph 50.

       51.      Paragraph 51 purports to selectively quote an interview. Defendants state that the

interview speaks for itself, refer to it for its full and complete contents, and deny the remaining

allegations in Paragraph 51.

       52.      Paragraph 52 purports to selectively quote an interview. Defendants state that the

interview speaks for itself, refer to it for its full and complete contents, and deny any remaining

allegations in Paragraph 52.

       53.      Paragraph 53 purports to selectively quote H. Res. 503. Defendants state that H.

Res. 503 speaks for itself, refer to it for its full and complete contents, and deny any remaining

allegations in Paragraph 53.

       54.      Paragraph 54 purports to characterize H.R. 3233 and selectively quote H. Res.

503. Defendants state that H.R. 3233 and H. Res. 503 speak for themselves, refer to them for

their full and complete contents, and deny any remaining allegations in Paragraph 54. To the

extent that Paragraph 54 asserts legal conclusions, no response is required.

       55.      Defendants admit that Speaker Pelosi appointed Chairman Thompson to serve as

Chair of the Select Committee and appointed Rep. Zoe Lofgren of California, Rep. Adam Schiff

of California, Rep. Pete Aguilar of California, Rep. Liz Cheney of Wyoming, Rep. Stephanie

Murphy of Florida, Rep. Jamie Raskin of Maryland, and Rep. Elaine Luria of Virginia as

members of the Select Committee.

       56.      Admitted.

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       57.     Paragraph 57 purports to selectively quote a press release. Defendants state that

the press release speaks for itself, refer to it for its full and complete contents, and deny any

remaining allegations in Paragraph 57. Answering further, Defendants state that the last three

paragraphs of the July 21, 2021 press release state: “Monday evening, the Minority Leader

recommended 5 Members to serve on the Select Committee. I have spoken with him this

morning about the objections raised about Representatives Jim Banks and Jim Jordan and the

impact their appointments may have on the integrity of the investigation. I also informed him

that I was prepared to appoint Representatives Rodney Davis, Kelly Armstrong and Troy Nehls,

and requested that he recommend two other Members. With respect for the integrity of the

investigation, with an insistence on the truth and with concern about statements made and actions

taken by these Members, I must reject the recommendations of Representatives Banks and

Jordan to the Select Committee. The unprecedented nature of January 6th demands this

unprecedented decision.”

       58.     Defendants admit that Speaker Pelosi appointed Rep. Adam Kinzinger to the

Select Committee. Defendants admit that Rep. Adam Kinzinger voted in favor of H. Res. 503.

Defendants deny the remaining allegations in Paragraph 58.

       59.     Paragraph 59 purports to selectively quote and reference H. Res. 503 and a press

release. Defendants state that the H. Res. 503 and the press release speak for themselves, refer to

them for their full and complete contents, and deny any remaining allegations in Paragraph 59.

       60.     Defendants admit that Rep. Cheney is a member of the Republican Conference of

the House of Representatives. Paragraph 60 purports to selectively quote House Rule XI(2)(d).

Defendants state that House Rule XI(2)(d) speaks for itself, refer to it for its full and complete

contents, and deny any remaining allegations in Paragraph 60. To the extent Paragraph 60

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asserts legal conclusions, no response is required. Defendants further deny that the allegations in

Paragraph 60 have any relevance to this action.

       61.     Paragraph 61 purports to reference a letter and a website. Defendants state that

the letter and website speak for themselves, refer to them for their full and complete contents,

and deny any remaining allegations in Paragraph 61. Defendants further state that Mr.

Meadows’s references to the Select Committee’s official letterhead and to the Select

Committee’s website are irrelevant.

       62.     Paragraph 62 purports to selectively quote H. Res. 503. Defendants state that H.

Res. 503 speaks for itself, refer to it for its full and complete contents, and deny any remaining

allegations in Paragraph 62.

       63.     Denied.

       64.     Admitted that the Select Committee held a hearing with testimony from officers

of the U.S. Capitol Police and D.C. Metropolitan Police Department who were violently attacked

on January 6, 2021. Answering further, Defendants state that three of the officers testified to

being physically attacked while a fourth officer testified to being verbally attacked on January 6,

2021. Defendants deny the remaining allegations in Paragraph 64.

       65.     Defendants admit that the Select Committee has issued subpoenas for documents

and the testimony of witnesses which speak for themselves. Defendants further admit that the

Select Committee has requested records and sent preservation notices to social media companies,

telecommunications companies, and banking entities, which speak for themselves. To the extent

Paragraph 65 purports to characterize a press release, Defendants state that the press release

speaks for itself, refer to it for its full and complete contents, and deny the remaining allegations

in Paragraph 65.

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       66.      Defendants admit that certain individuals and corporations have filed civil actions

challenging subpoenas issued by the Select Committee. Defendants state that Chairman

Thompson and the Select Committee are also defendants in Trump v. Thompson, and succeeded

in that case in defeating former President Trump’s effort to shield documents from production.

Trump v. Thompson, 20 F.4th 10, 41 (D.C. Cir. 2021), injunction denied, 142 S. Ct. 680 (Jan. 19,

2022), cert. denied, No. 21-932 (Feb. 22, 2022). Defendants deny the remaining allegations in

Paragraph 66.

       67.      Paragraph 67 purports to selectively reference a press release. Defendants state

that the press release speaks for itself, refer to it for its full and complete contents, and deny any

remaining allegations in Paragraph 67.

       68.      Admitted. Answering further, Defendants state that former President Trump’s

assertion of executive privilege was rejected by the courts. Trump v. Thompson, 20 F.4th 10, 41

(D.C. Cir. 2021), injunction denied, 142 S. Ct. 680 (Jan. 19, 2022), cert. denied, No. 21-932

(Feb. 22, 2022).

       69.      Defendants admit that on October 8, 2021, President Biden’s Counsel instructed

the Archivist of the United States to release the documents requested by the Select Committee

because the President determined that the constitutional protections of executive privilege should

not be used to shield, from Congress or the public, information that reflects a clear and apparent

effort to subvert the Constitution. Defendants deny the remaining allegations in Paragraph 69

and further note that former President Trump’s attempt to prevent the release of the Presidential

records was rejected by the courts. See Trump v. Thompson, 20 F.4th 10, 41 (D.C. Cir. 2021),

injunction denied, 142 S. Ct. 680 (Jan. 19, 2022), cert. denied, No. 21-932 (Feb. 22, 2022).




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       70.     Defendants admit that former President Trump filed a lawsuit challenging the

release of Presidential records. Answering further, Defendants state that the D.C. Circuit ruled in

the Defendants’ favor in the referenced case, and the U.S. Supreme Court refused to issue an

injunction halting production of the subject records to the Select Committee and subsequently

denied certiorari. Trump v. Thompson, 20 F.4th 10, 41 (D.C. Cir. 2021), injunction denied, 142

S. Ct. 680 (Jan. 19, 2022), cert. denied, No. 21-932 (Feb. 22, 2022). Defendants further admit

that the National Archives and Records Administration has released some of the requested

records to the Select Committee. Defendants further state that Paragraph 70 purports to quote a

statement respecting the denial of the injunction by Justice Kavanaugh, which was not joined by

any other Justice. Defendants state that the statement by Justice Kavanaugh speaks for itself,

refer to it for its full and complete contents, and deny the remaining allegations in Paragraph 70.

       71.     Admitted.

       72.     Defendants admit that the Select Committee issued a subpoena to Mr. Meadows.

Defendants further state that Paragraph 72 purports to selectively quote the subpoena.

Defendants state that the subpoena speaks for itself, refer to it for its full and complete contents,

and deny any remaining allegations in Paragraph 72.

       73.     Admitted.

       74.     Admitted.

       75.     Paragraph 75 purports to selectively paraphrase a letter. Defendants state that the

letter speaks for itself, refer to it for its full and complete contents, and deny any remaining

allegations in Paragraph 75.

       76.     Defendants lack knowledge or information sufficient to form a belief about the

truth of the allegations in Paragraph 76, and therefore deny the allegations.

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       77.     Defendants admit that Mr. Meadows informed the Select Committee, through

counsel, on October 7 that he would likely require additional time to respond to the subpoena.

Defendants admit Mr. Meadows told Defendants that he believed any records responsive to the

Select Committee’s subpoena were no longer in his custody and control but were instead among

the Presidential records held at the National Archives. Defendants deny any remaining

allegations in Paragraph 77.

       78.     Paragraph 78 purports to selectively paraphrase and quote communications from

the Select Committee. Defendants state that the communications speak for themselves, refer to

them for their full and complete contents, and deny any remaining allegations in Paragraph 78.

       79.     Denied.

       80.     Paragraph 80 purports to selectively reference a letter and opinions from the

Office of Legal Counsel at the Department of Justice. Defendants state that the letter and

opinions speak for themselves, refer to them for their full and complete contents, and deny any

remaining allegations in Paragraph 80.

       81.     Defendants object to Mr. Meadows’s use of the phrase “its traditional position” in

this context and otherwise lack knowledge or information sufficient to form a belief about the

truth of the allegations in Paragraph 81. Defendants therefore deny the allegations. Defendants

further state that Paragraph 81 purports to selectively reference Mr. Meadows’s communications

with White House Counsel. Defendants state that those communications speak for themselves,

refer to them for their full and complete contents, and deny any remaining allegations in

Paragraph 81. Defendants state that Mr. Meadows did ultimately provide certain documents

while withholding others despite never providing testimony to the Select Committee.




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       82.     Defendants object to the use of the phrase “the need to maintain executive

privilege” in the context and otherwise lack knowledge or information sufficient to form a belief

about the truth of the allegations in Paragraph 82. Defendants therefore deny the allegations.

       83.     Defendants admit that Mr. Meadows’s counsel initiated a dialogue to discuss his

potential testimony on what he claimed would be non-privileged information but otherwise deny

this allegation. Defendants further state that this October 12 discussion was a phone call in

which counsel for the Select Committee and counsel for Mr. Meadows discussed several topics

of potential testimony that would include useful non-privileged information. Defendants deny

any remaining allegations in Paragraph 83.

       84.     Paragraph 84 purports to selectively quote a letter. Defendants state that the letter

speaks for itself, refer to it for its full and complete contents, and deny any remaining allegations

in Paragraph 84.

       85.     Denied.

       86.     Paragraph 86 purports to selectively quote a letter. Defendants state that the letter

speaks for itself, refer to it for its full and complete contents, and deny any remaining allegations

in Paragraph 86.

       87.     Paragraph 87 purports to selectively paraphrase a letter. Defendants state that the

letter speaks for itself, refer to it for its full and complete contents, and deny any remaining

allegations in Paragraph 87.

       88.     Paragraph 88 purports to selectively quote a letter. Defendants state that the letter

speaks for itself, refer to it for its full and complete contents, and deny any remaining allegations

in Paragraph 88.




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        89.     Paragraph 89 purports to selectively quote and characterize a letter. Defendants

state that the letter speaks for itself, refer to it for its full and complete contents, and deny any

remaining allegations in Paragraph 89.

        90.     Paragraph 90 purports to selectively quote a letter. Defendants state that the letter

speaks for itself, refer to it for its full and complete contents, and deny any remaining allegations

in Paragraph 90.

        91.     Paragraph 91 purports to selectively quote a letter. Defendants state that the letter

speaks for itself, refer to it for its full and complete contents, and deny any remaining allegations

in Paragraph 91.

        92.     Paragraph 92 purports to characterize a letter. Defendants state that the letter

speaks for itself, refer to it for its full and complete contents, and deny any remaining allegations

in Paragraph 92.

        93.     Paragraph 93 purports to selectively quote a letter. Defendants state that the letter

speaks for itself, refer to it for its full and complete contents, and deny any remaining allegations

in Paragraph 93.

        94.     Paragraph 94 purports to selectively paraphrase a letter. Defendants state that the

letter speaks for itself, refer to it for its full and complete contents, and deny any remaining

allegations in Paragraph 94.

        95.     Paragraph 95 purports to selectively quote a letter. Defendants state that the letter

speaks for itself, refer to it for its full and complete contents, and deny any remaining allegations

in Paragraph 95.

        96.     Defendants lack knowledge or information sufficient to form a belief about the

truth of the allegations in Paragraph 96, and therefore deny those allegations. Defendants further

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state that Paragraph 96 purports to characterize a letter. Defendants state that the letter speaks

for itself, refer to it for its full and complete contents, and deny any remaining allegations in

Paragraph 96.

        97.     Defendants admit that Mr. Meadows did not appear for his deposition that the

Select Committee scheduled for November 12. Defendants deny the remaining allegations in

Paragraph 97.

        98.     Defendants admit that the Select Committee and Mr. Meadows continued to

discuss his failure to comply but deny that Mr. Meadows attempted to reach an agreement.

        99.     Paragraph 99 purports to selectively quote a letter. Defendants state that the letter

speaks for itself, refer to it for its full and complete contents, and deny any remaining allegations

in Paragraph 99.

        100.    Paragraph 100 purports to selectively paraphrase and quote a letter. Defendants

state that the letter speaks for itself, refer to it for its full and complete contents, and deny any

remaining allegations in Paragraph 100.

        101.    Defendants admit that Mr. Meadows, through counsel, sent the Select Committee

a letter on November 26, 2021, purporting to agree to appear for a deposition contingent on

numerous conditions. Defendants deny the remaining allegations in Paragraph 101.

        102.    Defendants admit that Mr. Meadows’s counsel provided the Select Committee

with 1,139 documents, totaling 6,836 total pages, and a privilege log in response to the Select

Committee’s subpoena. Defendants admit that Mr. Meadows represented to the Select

Committee that counsel was in the process of reviewing personal text messages but that those

messages were not produced as a result of a purported technical issue. Defendants deny the

remaining allegations in Paragraph 102.

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        103.    Paragraph 103 purports to characterize a letter. Defendants state that the letter

speaks for itself, refer to it for its full and complete contents, and deny any remaining allegations

in Paragraph 103.

        104.    Defendants admit that Mr. Meadows’s counsel produced 2,319 text messages and

partial and incomplete metadata from his personal cell phone and a privilege log for certain

withheld text messages on December 3, 2021. Defendants admit that Mr. Meadows’s counsel

produced an additional 20 documents on December 3, 2021. Except as expressly admitted,

Defendants deny the allegations in Paragraph 104, or lack knowledge or information sufficient to

form a belief about the truth of the allegations in Paragraph 104.

        105.    Defendants deny all allegations that the Select Committee acted in bad faith or in

any way blindsided Mr. Meadows. Defendants lack knowledge or information sufficient to form

a belief about the truth of the remainder of the allegations in Paragraph 105, and therefore deny

those allegations.

        106.    Paragraph 106 purports to selectively quote and paraphrase a letter. Defendants

state that the letter speaks for itself, refer to it for its full and complete contents, and deny any

remaining allegations in Paragraph 106.

        107.    Paragraph 107 purports to selectively reference a subpoena. Defendants state that

the subpoena speaks for itself, refer to it for its full and complete contents, and deny any

remaining allegations in Paragraph 107.

        108.    Denied.

        109.    Paragraph 109 purports to selectively characterize a news report. Defendants

state that the news report speaks for itself, refer to it for its full and complete contents, and deny

any remaining allegations in Paragraph 109.

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       110.    Paragraph 110 purports to selectively quote a news article. Defendants state that

the article speaks for itself, refer to it for its full and complete contents, and deny any remaining

allegations in Paragraph 110. Defendants further state that they lack knowledge or information

sufficient to form a belief about the truth of the allegations in Paragraph 110, and therefore deny

those allegations.

       111.    Defendants admit that Mr. Meadows’s counsel informed the Select Committee on

December 7, 2021, that he would not attend the agreed upon deposition scheduled for December

8, 2021. Defendants admit that Mr. Meadows offered to submit written interrogatories in lieu of

a deposition. Defendants deny the remaining allegations in Paragraph 111.

       112.    Denied.

       113.    Admitted.

       114.    Paragraph 114 purports to selectively quote statements made on the House floor.

Defendants state that the floor statements speak for themselves, refer to them for their full and

complete contents, and deny the remaining allegations in Paragraph 114.

       115.    Denied. Answering further, Defendants state that they lack knowledge or

information sufficient to form a belief about the truth of the allegations in Paragraph 115, and

therefore deny the allegations.

       116.    Paragraph 116 purports to characterize a letter. Defendants state that the letter

speaks for itself, refer to it for its full and complete contents, and deny any remaining allegations

in Paragraph 116.

       117.    Denied.

       118.    Denied.

       119.    Denied.

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       120.    Paragraph 120 asserts legal conclusions to which no response is required.

Paragraph 120 purports to selectively quote H. Res. 503. Defendants state that H. Res. 503

speaks for itself, refer to it for its full and complete contents, and deny any remaining allegations

in Paragraph 120.

       121.    Defendants admit that the Select Committee is composed of seven Democrats and

two Republicans, but deny any allegations that Speaker Pelosi rejected all five Republican

recommendations put forth by Minority Leader McCarthy.

       122.    Paragraph 122 asserts legal conclusions to which no response is required. To the

extent a response is required, Defendants deny the allegations in Paragraph 122.

       123.    Paragraph 123 asserts legal conclusions to which no response is required. To the

extent a response is required, Defendants deny that Congress has failed to act in accordance with

its own rules and deny all other allegations in Paragraph 123.

       124.    Paragraph 124 asserts legal conclusions to which no response is required. To the

extent a response is required, Defendants deny the allegations in Paragraph 124. Defendants

state that Judge David O. Carter in Eastman v. Thompson rejected the argument being put

forward by Mr. Meadows. See Order Denying Pl.’s Mot. for Preliminary Injunction, Eastman v.

Thompson, No. 8:22-cv-00099-DOC-DFM (C.D. Cal. Jan. 25, 2022). Defendants further state

that Judge James E. Boasberg in Budowich v. Pelosi indicated that he would reject the arguments

being put forward by Mr. Meadows. Budowich v. Pelosi, No. 21-cv-3366 (JEB) (D.D.C.), Jan.

20, 2022 Oral Arg. Tr. 34:1-5.

       125.    Paragraph 125 asserts legal conclusions to which no response is required. To the

extent a response is required, Defendants deny the allegations in Paragraph 125.




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       126.    Paragraph 126 asserts legal conclusions to which no response is required. To the

extent a response is required, Defendants deny the allegations in Paragraph 97.

       127.    Paragraph 127 asserts legal conclusions to which no response is required. To the

extent a response is required, Defendants deny the allegations in Paragraph 98.

       128.    Paragraph 128 asserts legal conclusions to which no response is required. To the

extent a response is required, Defendants deny the allegations in Paragraph 128.

       129.    Paragraph 129 asserts legal conclusions to which no response is required. To the

extent a response is required, Defendants deny the allegations in Paragraph 129.

       130.    Paragraph 130 asserts legal conclusions to which no response is required. To the

extent a response is required, Defendants deny the allegations in Paragraph 130. Answering

further, Defendants state that the D.C. Circuit held that “the January 6th Committee plainly has a

‘valid legislative purpose’ and its inquiry ‘concern[s] a subject on which legislation could be

had.’” Trump v. Thompson, 20 F.4th 10, 41 (D.C. Cir. 2021) (quoting Trump v. Mazars USA,

LLP, 140 S. Ct. 2019, 2031-32 (2020)), injunction denied, 142 S. Ct. 680 (Jan. 19, 2022), cert.

denied, No. 21-932 (Feb. 22, 2022).

       131.    Paragraph 131 asserts legal conclusions to which no response is required. To the

extent a response is required, Defendants deny the allegations in Paragraph 131. Answering

further, Defendants state that the D.C. Circuit held that “the January 6th Committee plainly has a

‘valid legislative purpose’ and its inquiry ‘concern[s] a subject on which legislation could be

had.’” Trump v. Thompson, 20 F.4th 10, 41 (D.C. Cir. 2021) (quoting Trump v. Mazars USA,

LLP, 140 S. Ct. 2019, 2031-32 (2020)), injunction denied, 142 S. Ct. 680 (Jan. 19, 2022), cert.

denied, No. 21-932 (Feb. 22, 2022).




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       132.    Paragraph 132 asserts legal conclusions to which no response is required. To the

extent a response is required, Defendants deny the allegations in Paragraph 132.

       133.    Paragraph 133 asserts legal conclusions to which no response is required. To the

extent a response is required, Defendants deny the allegations in Paragraph 133. Answering

further, Defendants state that the D.C. Circuit held that “the January 6th Committee plainly has a

‘valid legislative purpose’ and its inquiry ‘concern[s] a subject on which legislation could be

had.’” Trump v. Thompson, 20 F.4th 10, 41 (D.C. Cir. 2021) (quoting Trump v. Mazars USA,

LLP, 140 S. Ct. 2019, 2031-32 (2020)), injunction denied, 142 S. Ct. 680 (Jan. 19, 2022), cert.

denied, No. 21-932 (Feb. 22, 2022).

       134.    Denied. Answering further, Defendants state that the D.C. Circuit held that “the

January 6th Committee plainly has a ‘valid legislative purpose’ and its inquiry ‘concern[s] a

subject on which legislation could be had.’” Trump v. Thompson, 20 F.4th 10, 41 (D.C. Cir.

2021) (quoting Trump v. Mazars USA, LLP, 140 S. Ct. 2019, 2031-32 (2020)), injunction denied,

142 S. Ct. 680 (Jan. 19, 2022), cert. denied, No. 21-932 (Feb. 22, 2022).

       135.    Paragraph 135 purports to selectively quote a subpoena. Defendants state that the

subpoena speaks for itself, refer to it for its full and complete contents, and deny any remaining

allegations in Paragraph 135. Defendants further state that Paragraph 135 asserts legal

conclusions to which no response is required.

       136.    Denied. Answering further, Defendants state that the D.C. Circuit held that “the

January 6th Committee plainly has a ‘valid legislative purpose’ and its inquiry ‘concern[s] a

subject on which legislation could be had.’” Trump v. Thompson, 20 F.4th 10, 41 (D.C. Cir.

2021) (quoting Trump v. Mazars USA, LLP, 140 S. Ct. 2019, 2031-32 (2020)), injunction denied,




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142 S. Ct. 680 (Jan. 19, 2022), cert. denied, No. 21-932 (Feb. 22, 2022). To the extent that

Paragraph 136 asserts legal conclusions, no response is required.

       137.    Paragraph 137 asserts legal conclusions to which no response is required. To the

extent a response is required, Defendants deny the allegations in Paragraph 137.

       138.    Denied. Answering further, Defendants state that the D.C. Circuit held that “the

January 6th Committee plainly has a ‘valid legislative purpose’ and its inquiry ‘concern[s] a

subject on which legislation could be had.’” Trump v. Thompson, 20 F.4th 10, 41 (D.C. Cir.

2021) (quoting Trump v. Mazars USA, LLP, 140 S. Ct. 2019, 2031-32 (2020)), injunction denied,

142 S. Ct. 680 (Jan. 19, 2022), cert. denied, No. 21-932 (Feb. 22, 2022). To the extent that

Paragraph 138 asserts legal conclusions, no response is required.

       139.    Paragraph 139 asserts legal conclusions to which no response is required. To the

extent a response is required, Defendants deny the allegations in Paragraph 139.

       140.    Defendants admit that Mr. Meadows provided the Select Committee with

documents. Defendants deny the remaining allegations in Paragraph 140.

       141.    Denied.

       142.    Denied.

       143.    Paragraph 143 asserts legal conclusions to which no response is required. To the

extent a response is required, Defendants deny the allegations in Paragraph 143.

       144.    Paragraph 144 purports to selectively quote tweets. Defendants state that the

tweets speak for themselves, refer to them for their full and complete contents, and deny any

remaining allegations in Paragraph 144. Defendants deny the remaining allegations in Paragraph

144.




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       145.    Paragraph 145 purports to selectively quote a statement from a Select Committee

meeting. Defendants state that the statement speaks for itself, refer to it for its full and complete

contents, and deny the remaining allegations in Paragraph 145.

       146.    Denied. To the extent Paragraph 146 asserts legal conclusions, no response is

required.

       147.    Paragraph 147 asserts legal conclusions to which no response is required. To the

extent a response is required, Defendants deny the allegations in Paragraph 147.

       148.    Defendants admit that the Select Committee issued a subpoena to

Verizon that seeks certain information maintained by Verizon related to Mr. Meadows’s cell

phone usage. Defendants state that the subpoena speaks for itself, refer to it for its full and

complete contents, and deny the remaining allegations in Paragraph 148. Answering further,

Defendants admit that Mr. Meadows has provided certain text messages, emails, and selective

partial and incomplete metadata.

       149.    Paragraph 149 asserts legal conclusions to which no response is required. To the

extent a response is required, Defendants deny the allegations in Paragraph 149.

       150.    Paragraph 150 asserts legal conclusions to which no response is required. To the

extent a response is required, Defendants deny the allegations in Paragraph 150.

       151.    Paragraph 151 asserts legal conclusions to which no response is required. To the

extent a response is required, Defendants deny the allegations in Paragraph 151.

       152.    Paragraph 152 asserts legal conclusions to which no response is required. To the

extent a response is required, Defendants deny the allegations in Paragraph 152. Defendants

further state that paragraph 152 purports to characterize information sought by the Verizon




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subpoena, which speaks for itself; Defendants refer to the subpoena for its full and complete

contents, and deny any remaining allegations in Paragraph 152.

       153.    Paragraph 153 asserts legal conclusions to which no response is required. To the

extent a response is required, Defendants deny the allegations in Paragraph 153. Defendants

further state that paragraph 153 purports to characterize information sought by the Verizon

subpoena, which speaks for itself; Defendants refer to the subpoena for its full and complete

contents, and deny any remaining allegations in Paragraph 153.

       154.    Paragraph 154 asserts legal conclusions to which no response is required. To the

extent a response is required, Defendants deny the allegations in Paragraph 154. Defendants

further state that paragraph 154 purports to characterize information sought by the Verizon

subpoena, which speaks for itself; Defendants refer to the subpoena for its full and complete

contents, and deny any remaining allegations in Paragraph 154.

       155.    Paragraph 155 asserts legal conclusions to which no response is required. To the

extent a response is required, Defendants deny the allegations in Paragraph 155.

       156.    Paragraph 156 purports to characterize information sought by the Verizon

subpoena; Defendants state that the subpoena speaks for itself, refer to it for its full and complete

contents, and deny any remaining allegations in Paragraph 156. Answering further, Defendants

state that Paragraph 156 asserts legal conclusions to which no response is required. To the extent

a response is required, Defendants deny the allegations in Paragraph 156.

       157.    Paragraph 157 asserts legal conclusions to which no response is required. To the

extent a response is required, Defendants deny the allegations in Paragraph 157.

       158.    Paragraph 158 asserts legal conclusions to which no response is required. To the

extent a response is required, Defendants deny the allegations in Paragraph 158.

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       159.   Paragraph 159 asserts legal conclusions to which no response is required. To the

extent a response is required, Defendants deny the allegations in Paragraph 159.

       160.   Paragraph 160 asserts legal conclusions to which no response is required. To the

extent a response is required, Defendants deny the allegations in Paragraph 160.

       161.   Paragraph 161 asserts legal conclusions to which no response is required. To the

extent a response is required, Defendants deny the allegations in Paragraph 161.

       162.   Paragraph 162 asserts legal conclusions to which no response is required. To the

extent a response is required, Defendants deny the allegations in Paragraph 162.

       163.   Paragraph 163 asserts legal conclusions to which no response is required. To the

extent a response is required, Defendants deny the allegations in Paragraph 163.

       164.   Paragraph 164 asserts legal conclusions to which no response is required. To the

extent a response is required, Defendants deny the allegations in Paragraph 164.

       165.   Paragraph 165 asserts legal conclusions to which no response is required. To the

extent a response is required, Defendants deny the allegations in Paragraph 165.

       166.   Paragraph 166 asserts legal conclusions to which no response is required. To the

extent a response is required, Defendants deny the allegations in Paragraph 166.

       167.   Paragraph 167 asserts legal conclusions to which no response is required. To the

extent a response is required, Defendants deny the allegations in Paragraph 167.

       168.   Paragraph 168 asserts legal conclusions to which no response is required. To the

extent a response is required, Defendants deny the allegations in Paragraph 168.

       169.   Paragraph 169 asserts legal conclusions to which no response is required. To the

extent a response is required, Defendants deny the allegations in Paragraph 169.




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       170.    Paragraph 170 asserts legal conclusions to which no response is required. To the

extent a response is required, Defendants deny the allegations in Paragraph 170.

       171.    Paragraph 171 asserts legal conclusions to which no response is required. To the

extent a response is required, Defendants deny the allegations in Paragraph 171.

       172.    Paragraph 172 asserts legal conclusions to which no response is required. To the

extent a response is required, Defendants deny the allegations in Paragraph 172.

       173.    Paragraph 173 asserts legal conclusions to which no response is required. To the

extent a response is required, Defendants deny the allegations in Paragraph 173.

       174.    Paragraph 174 purports to characterize information sought by the Verizon

subpoena. Defendants state that the subpoena speaks for itself, refer to it for its full and

complete contents, and deny any remaining allegations in Paragraph 174.

       175.    Denied.

       176.    Paragraph 176 purports to selectively quote a letter. Defendants state that the

letter speaks for itself, refer to it for its full and complete contents, and deny any remaining

allegations in Paragraph 176.

       177.    Paragraph 177 asserts legal conclusions to which no response is required. To the

extent a response is required, Defendants deny the allegations in Paragraph 177.

       178.    Paragraph 178 asserts legal conclusions to which no response is required. To the

extent a response is required, Defendants deny the allegations in Paragraph 178.

       179.    Denied.

       180.    Paragraph 180 asserts legal conclusions to which no response is required. To the

extent a response is required, Defendants deny the allegations in Paragraph 180.




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       181.    Paragraph 181 asserts legal conclusions to which no response is required. To the

extent a response is required, Defendants deny the allegations in Paragraph 181.

       182.    Paragraph 182 asserts legal conclusions to which no response is required. To the

extent a response is required, Defendants deny the allegations in Paragraph 182.

       183.    Denied. Defendants further state that the Select Committee has sought non-

privileged information from third parties as well, including Verizon.

       184.    Defendants admit that the subpoena compels Mr. Meadows to appear and give

testimony.

       185.    Paragraph 185 asserts legal conclusions to which no response is required. To the

extent a response is required, Defendants deny the allegations in Paragraph 185.

       186.    Paragraph 186 asserts legal conclusions to which no response is required. To the

extent a response is required, Defendants deny the allegations in Paragraph 186.

       187.    Paragraph 187 asserts legal conclusions to which no response is required. To the

extent a response is required, Defendants deny the allegations in Paragraph 187.

       188.    Defendants admit that the Select Committee rejected Mr. Meadows’s claims of

testimonial immunities and demanded that Mr. Meadows appear for testimony. Defendants deny

that the Select Committee threatened Mr. Meadows. Answering further, Defendants state that

the Select Committee informed Mr. Meadows of the consequence of ignoring his legal duty to

appear for a deposition pursuant to a subpoena issued by the Select Committee.

       189.    Paragraph 189 asserts legal conclusions to which no response is required. To the

extent a response is required, Defendants deny the allegations in Paragraph 189.




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       190.    Paragraph 190 purports to selectively paraphrase the Verizon subpoena.

Defendants state that the subpoena speaks for itself, refer to it for its full and complete contents,

and deny any remaining allegations in Paragraph 190.

       191.    Paragraph 191 purports to selectively quote a letter. Defendants state that the

letter speaks for itself, refer to it for its full and complete contents, and deny any remaining

allegations in Paragraph 191.

       192.    Defendants lack knowledge or information sufficient to form a belief about the

truth of the allegations in Paragraph 192, and therefore deny the allegations.

       193.    Paragraph 193 purports to selectively characterize the information sought by the

Verizon subpoena. Defendants state that the subpoena speaks for itself, refer to it for its full and

complete contents, and deny any remaining allegations in Paragraph 193.

       194.    Defendants deny that the subpoena requests the content of calls, text messages,

and other communications associated with Mr. Meadows’s phone number.

       195.    Defendants deny that the cell phone data in the Select Committee’s possession

can be used for historic cell site analysis. Defendants further state that Paragraph 195 purports to

selectively characterize information sought by the Verizon subpoena. Defendants state that the

subpoena speaks for itself, refer to it for its full and complete contents, and deny any remaining

allegations in Paragraph 195.

       196.    Admitted.

       197.    Defendants admit that Mr. Meadows provided certain text messages and certain

metadata associated with those text messages in response to the Select Committee’s September

23, 2021 subpoena. Defendants deny the remaining allegations contained in Paragraph 197.




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       198.   Paragraph 198 asserts legal conclusions to which no response is required. To the

extent a response is required, Defendants deny the allegations in Paragraph 198. Answering

further, Defendants state that Mr. Meadows appears to have conducted official business on the

referenced phone and created records on that phone subject to the Presidential Records Act.

       199.   Paragraph 199 asserts legal conclusions to which no response is required. To the

extent a response is required, Defendants deny the allegations in Paragraph 199.

       200.   Paragraph 200 asserts legal conclusions to which no response is required. To the

extent a response is required, Defendants deny the allegations in Paragraph 200.

       201.   Paragraph 201 asserts legal conclusions to which no response is required. To the

extent a response is required, Defendants deny the allegations in Paragraph 201.

       202.   Paragraph 202 asserts legal conclusions to which no response is required. To the

extent a response is required, Defendants deny the allegations in Paragraph 202.

       203.   Paragraph 203 asserts legal conclusions to which no response is required. To the

extent a response is required, Defendants deny the allegations in Paragraph 203.

       204.   Paragraph 204 asserts legal conclusions to which no response is required. To the

extent a response is required, Defendants deny the allegations in Paragraph 204.

       205.   Paragraph 205 asserts legal conclusions to which no response is required. To the

extent a response is required, Defendants deny the allegations in Paragraph 205.

       206.   Paragraph 206 asserts legal conclusions to which no response is required. To the

extent a response is required, Defendants deny the allegations in Paragraph 206.

       207.   Paragraph 207 asserts legal conclusions to which no response is required. To the

extent a response is required, Defendants deny the allegations in Paragraph 207.




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       208.    Paragraph 208 asserts legal conclusions to which no response is required. To the

extent a response is required, Defendants deny the allegations in Paragraph 208.

       209.    Denied.

       210.    Defendants state that it appears that Mr. Meadows used his personal cell phone in

a manner that created records subject to the Presidential Records Act and for other purposes. To

the extent Paragraph 210 asserts legal conclusions, no response is required. To the extent a

response is required, Defendants deny the allegations in Paragraph 210.

       211.    Defendants lack knowledge or information sufficient to form a belief about the

truth of the allegations in Paragraph 211, and therefore deny the allegations.

       212.    Paragraph 212 asserts legal conclusions to which no response is required. To the

extent a response is required, Defendants deny the allegations in Paragraph 212.

       213.    Paragraph 213 asserts legal conclusions to which no response is required. To the

extent a response is required, Defendants deny the allegations in Paragraph 213.

       214.    Paragraph 214 asserts legal conclusions to which no response is required. To the

extent a response is required, Defendants deny the allegations in Paragraph 214.

       215.    Paragraph 215 asserts legal conclusions to which no response is required. To the

extent a response is required, Defendants deny the allegations in Paragraph 215.

       216.    Defendants admit that the Select Committee is composed of 9 members, including

7 Democratic members and 2 Republican members, and Defendants admit that the President

under which Mr. Meadows served was a member of the Republican Party. Defendants deny the

remainder of the allegations in Paragraph 216.

       217.    To the extent that Paragraph 217 asserts legal conclusions, no response is

required. To the extent a response is required, Defendants deny the allegations in Paragraph 217.

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       218.    To the extent that Paragraph 218 asserts legal conclusions, no response is

required. To the extent a response is required, Defendants deny the allegations in Paragraph 218.

       219.    To the extent that Paragraph 219 asserts legal conclusions, no response is

required. To the extent a response is required, Defendants deny the allegations in Paragraph 219.

                            RESPONSE TO PRAYER FOR RELIEF

       This portion of the First Amended Complaint consists of Mr. Meadows’s request for

relief, to which a response is not required; but to the extent a response may be deemed to be

required, Defendants deny that Mr. Meadows is entitled to the relief requested, or to any relief.

       Defendants deny each and every allegation of the First Amended Complaint not

specifically admitted herein.

                                  AFFIRMATIVE DEFENSES

       The Defendants assert the following defenses without assuming the burden of proof or

any other burden if such burden would otherwise be on Mr. Meadows. The Defendants assert

these solely to the extent necessary to preserve their rights.

                                FIRST AFFIRMATIVE DEFENSE

       Mr. Meadows’s claims are barred, in whole or in part, because the First Amended

Complaint fails to allege facts sufficient to state a claim against the Defendants upon which relief

may be granted on any of the claims asserted.

                             SECOND AFFIRMATIVE DEFENSE

       Mr. Meadows lacks standing to assert some or all of Mr. Meadows’s claims.

                                THIRD AFFIRMATIVE DEFENSE

       Mr. Meadows’s claims against Defendants are barred, in whole or in part, by laches,

equitable estoppel, waiver, or other related equitable doctrines.


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                             FOURTH AFFIRMATIVE DEFENSE

         The Select Committee is properly organized and has a valid legislative purpose. The

D.C. Circuit held that “the January 6th Committee plainly has a ‘valid legislative purpose’ and

its inquiry ‘concern[s] a subject on which legislation could be had.’” Trump v. Thompson, 20

F.4th 10, 41 (D.C. Cir. 2021) (quoting Trump v. Mazars USA, LLP, 140 S. Ct. 2019, 2031-32

(2020)), injunction denied, 142 S. Ct. 680 (Jan. 19, 2022), cert. denied, No. 21-932 (Feb. 22,

2022).

                              FIFTH AFFIRMATIVE DEFENSE

         The Select Committee is validly constituted under the Rulemaking Clause of Article 1,

Section 5, Clause 2 of the U.S. Constitution.

                              SIXTH AFFIRMATIVE DEFENSE

         The Select Committee is properly composed pursuant to House Resolution 503.

                            SEVENTH AFFIRMATIVE DEFENSE

         The subpoenas issued by the Select Committee are valid and enforceable under the U.S.

Constitution, applicable federal law, and the Rules of the House.

                             EIGHTH AFFIRMATIVE DEFENSE

         The Stored Communications Act does not limit the validity and enforceability of the

subpoenas issued by the Select Committee.

                              NINTH AFFIRMATIVE DEFENSE

         Any and all assertions or invocations of executive privilege made by Mr. Meadows are

inapplicable, invalid, and unsubstantiated, and otherwise do not inhibit the validity and

enforceability of the subpoenas issued by the Select Committee.




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                              TENTH AFFIRMATIVE DEFENSE

       Any and all assertions or invocations of absolute testimonial privilege made by Mr.

Meadows are inapplicable, invalid, and unsubstantiated, and otherwise do not inhibit the validity

and enforceability of the subpoenas issued by the Select Committee.

                           ELEVENTH AFFIRMATIVE DEFENSE

       The subpoenas issued by the Select Committee are of permissible scope and breadth.

                            TWELFTH AFFIRMATIVE DEFENSE

       The subpoenas issued by the Select Committee to Mr. Meadows and Verizon do not

violate any rights established by the U.S. Constitution, applicable federal statute, or federal

common law.

                          THIRTEENTH AFFIRMATIVE DEFENSE

       Mr. Meadows is precluded from recovering attorneys’ fees from the Defendants under

applicable provisions of federal law.

                         FOURTEENTH AFFIRMATIVE DEFENSE

       Mr. Meadows’s claims are barred, in whole or in part, by the Separation of Powers

provided for in the U.S. Constitution.

                           FIFTEENTH AFFIRMATIVE DEFENSE

       The Defendants rely upon all defenses contained in any applicable federal statute or law.

                                RESERVATION OF DEFENSES

       The Defendants reserve the right to assert additional defenses, cross-claims, and third-

party claims, not asserted herein, of which they may become aware in the future.

                                     PRAYER FOR RELIEF

WHEREFORE, Defendants respectfully request and pray as follows:


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       1.     That the Court declare Mr. Meadows has no lawful basis for refusing to comply in

whole or in part with the Select Committee’s lawful subpoena, and that Mr. Meadows has

presented no lawful basis to enjoin the Select Committee’s subpoena to Verizon;

       2.     That judgment be entered for the Defendants; and

       3.     For such other relief as the Court deems just and proper.



 Dated: April 22, 2022                       Respectfully submitted,

                                            /s/ Douglas N. Letter
                                            DOUGLAS N. LETTER
                                            General Counsel

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* Appearing pursuant to 2 U.S.C. § 5571(a).




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